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                                                        U.S. Department of Justice

                                                        Federal Burea'!-' ofPrisons

                                                       Federal Correctional Complex .

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                                                       P. 0. Box 26045
                                                       Beaumont, Texas      77720




  MEMORANDUM FOR INMATE POPULATION
                                                 COMPLEX, BEAUMONT, TEXAS
                  - ~/ffCTIONAL

  FROM:           ~ ~ d , Deputy Captain
                     Fedeial Correctional Complex, Beaumont, Texas

 SUBJECT:



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;pos±tive~"fOVID't"l-lf4~iun~:te cases· he.r:e..·at:-, t~e. Nedium. facili~ty,.· l Our
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 focus this week is to ensure we sanitize the institution with an
 emphasis· on laundry/linen and all common areas. Commissary w'ill
be closed this week to -accomplish this tas-~. Limited inmate
orderlies will be used to accomplish the tasks of the
institution. These inmates will be COVID tested. Only one (1)
nrderly will be authorized to be out'at a time. UNICOR inm~tes
will ~e tested prior to going back to work as well.
                                 1
 Institutional operations will pe modified this week to ensure we
identify any further inmates that require isolation status.
Showers will resume after medical has screened all possible
exposed inmates, ·and a:re cleared. Out of cell time· will be
limited to-showers only until further notice.

We are currently testing inmates to identify any other possible
positive cases. If you experience any symptoms please notify
staff immediately. As a reminder proper wearing of the mask and
use of sanitation items are required. We have fared well so far
duiing this pandemic, .but iurther sanitation is required. Your
           r
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continued compliance, and understanding is remarkable. I. am
aware that this is a stressful time, and some have family
effected by this virus, but my goal is keep all inmates and
staff healthy and as safe as possible.

Plans are being established to ensure meals are provide timely
due to the recent changes experienced by COVID-19.
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                                                              U.S. Department of Justice

                                                              Federal Bureau ofPrisons

                                                              Federal Correctional Complex


                                                              P. 0. Box 26045
                                                              Beaumont, Texas    77720




        MEMORANDUM FOR INMATE POPULATION
                       FEDERAL CORRECTIONAL COMPLEX, BEAUMONT, TEXAS
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        FROM:             J,qhodes, Acting Warden
                          Federal Correctional Complex, Beaumont Medium

        SUBJECT:          COVID-19 Update


        'I'he. purpose of this memorandum is to provide the inmate
       .population an update of our current status. Currently, FCC
      '-Beaumont Medium has (45-) positive COVID-T9· ,inmate cases. Our
I       focus is to ensure we sanitize the institution ·w:ith an emphasis
i
I
        on laundry/linen and all common areas. Commissary is being
        provide this week for over the counter medications (OTC's) and

I      hygiene. The following week, food items will be available for
       purchase. This rotation will remain until further notice. The
       spending limit for commissary remains $50.00.
I
       Institutional operations will be modified and all p~ogramming
       has been canceled until further notice.· Currently, the inmate
       population will receive (1) hot meal per day. Showers will be
      provided three days a week'(M/W/F), one cell at a time. Use of
      computers and pho~es are currently prohibited due to sanitary
      reasons. A p~an is currently being discussed to resume inm~te
      phone calls and use of computers.

     We will continue ·to test inmates to identify any          ·
     positiv                                               possible
        .    e cases. If you .experience any symptoms       l
     staff immediately. As a reminder proper             , Pease notify
     and use .of sani. t ation
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I am aware that this is. a.. stressfpl time, and some have family
effected by this virus"-::: ·l?.U:t my goal is keep all inmates and
staff healthy and safe as possible.




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